           Case 1:13-vv-00722-UNJ Document 53 Filed 04/03/15 Page 1 of 7




In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

************************ *
LACOLE WILLIS,            *
                          *                               No. 13-722V
              Petitioner, *                               Special Master Christian J. Moran
                          *
v.                        *                               Filed: March 6, 2015
                          *
SECRETARY OF HEALTH       *                              Stipulation; trivalent influenza
AND HUMAN SERVICES,       *                              (“flu”) vaccine; dysautonomia;
                          *                              central sensitization syndrome;
              Respondent. *                              attorneys’ fees and costs.
************************ *

Andrew D. Downing, Van Cott & Talamante, Phoenix, AZ, for Petitioner;
Julia McInerny, United States Dep’t of Justice, Washington, DC, for Respondent.

                                 UNPUBLISHED DECISION1

       On March 4, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Lacole Willis on September 24, 2013. In her petition, Ms.
Willis alleged that the trivalent influenza (“flu”) vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which she received on
October 18, 2012, caused her to suffer dysautonomia, central sensitization syndrome,
and other injuries as a result of her flu vaccination. Petitioner further alleges that she
experienced the residual effects of these conditions for more than six months.
Petitioner represents that there has been no prior award or settlement of a civil action
for damages as a result of her condition.

      Respondent denies that the flu vaccine caused petitioner’s alleged
dysautonomia, central sensitization syndrome or any other injury.

       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special master
will appear in the document posted on the website.
            Case 1:13-vv-00722-UNJ Document 53 Filed 04/03/15 Page 2 of 7



       Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages and attorneys’ fees and costs, on the terms
set forth therein.

        Compensation awarded in that stipulation includes:

        A. A lump sum payment of $85,000.00 in the form of a check payable to
           petitioner, Lacole Willis. This amount represents compensation for all
           damages that would be available under 42 U.S.C. § 300aa-15(a); and

        B. A lump sum of $26,500.00 in the form of a check payable jointly to
           petitioner and petitioner’s attorney, Andrew D. Downing, Van Cott &
           Talamante, 2025 N. Third Street, Suite 260, Phoenix, AZ 85004, for
           attorneys’ fees and costs available under 42 U.S.C. § 300aa-15(e), and,
           in compliance with General Order #9, no out-of-pocket expenses were
           incurred by petitioner in proceeding on the petition.

       In the absence of a motion for review filed pursuant to RCFC, Appendix B, the
clerk is directed to enter judgment in case 13-722V according to this decision and the
attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                    s/ Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party
filing a notice renouncing the right to seek review by a United States Court of Federal Claims judge.
Case 1:13-vv-00722-UNJ Document 53
                                48 Filed 04/03/15
                                         03/04/15 Page 3
                                                       1 of 7
                                                            5
Case 1:13-vv-00722-UNJ Document 53
                                48 Filed 04/03/15
                                         03/04/15 Page 4
                                                       2 of 7
                                                            5
Case 1:13-vv-00722-UNJ Document 53
                                48 Filed 04/03/15
                                         03/04/15 Page 5
                                                       3 of 7
                                                            5
Case 1:13-vv-00722-UNJ Document 53
                                48 Filed 04/03/15
                                         03/04/15 Page 6
                                                       4 of 7
                                                            5
Case 1:13-vv-00722-UNJ Document 53
                                48 Filed 04/03/15
                                         03/04/15 Page 7
                                                       5 of 7
                                                            5
